Case 0:10-cv-62292-WJZ Document 1 Entered on FLSD Docket 11/24/2010 Page 1 of 4




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                 Case No.:

 VERNON MARQUIS, JR.

                      Plaintiff,
 vs.

 FDF ATTORNEY AFFILIATES, P.L.,
 DBA FEE DeROSS AND FEE,
 a Florida Professional Limited Liability
 Company, and KRAMER, SOPKO &
 LEVENSTEIN, P.A., a Florida
 Professional Association,

                 Defendants.
 ____________________________________/

                                        COMPLAINT
                                       (Jury Demand)
 Introduction

 1.     This is an action for actual damages, and statutory damages brought by VERNON

        MARQUIS, JR., an individual consumer, for Defendants’ violations of the Fair Debt

        Collection Practices Act, 15 U.S.C. § 1692, et seq. (‘‘FDCPA’’), which prohibits debt

        collectors from engaging in abusive, deceptive, and unfair practices.

 Jurisdiction

 2.     This Court has jurisdiction according to 28 U.S.C. §§ 1331 and 1337(a), and 15

        U.S.C. § 1692k(d).

 Venue

 3.     Venue in this District is proper according to 28 U.S.C. § 1391, because Defendants

        transact business in the Southern District of Florida and the conduct complained of

        occurred here.


                                              1
Case 0:10-cv-62292-WJZ Document 1 Entered on FLSD Docket 11/24/2010 Page 2 of 4




 4.    Plaintiff VERNON MARQUIS, JR. ("MARQUIS”) is a natural person residing at all

       relevant times in Broward County, Florida.

 5.    Plaintiff is a ‘‘consumer’’ as defined by the FDCPA, 15 U.S.C. § 1692a(3).

 6.    Defendant FDF ATTORNEY AFFILIATIES, P.L. d/b/a FEE DeROSS AND FEE

       ("FEE LAW FIRM"), is a Florida professional limited liability company with its

       principal place of business in St. Lucie, Florida.

 7.    Defendant FEE LAW FIRM is in the business of collecting debts, for which it uses

       the mails and telephone, and it regularly attempts to collect debts alleged to be due

       another.

 8.    Defendant KRAMER, SOPKO & LEVENSTEIN, P.A. (“KRAMER”) , is a Florida

       professional assocation with its principal place of business in Stuart, Florida.

 9.    Defendant KRAMER is in the business of collecting debts, for which it uses the mails

       and telephone, and it regularly attempts to collect debts alleged to be due another.

 10.   The FEE LAW FIRM and KRAMER are ‘‘debt collectors’’ as defined by the FDCPA,

       15 U.S.C. § 1692a(6).

 11.    On or about March 30, 2010 FEE LAW FIRM filed a lawsuit against MARQUIS in

       St. Lucie County, Fl. seeking to recover on alleged debt. Said law suit summons was

       served upon VERNON MARQUIS, JR’s mother on March 30, 2010 in Broward

       County, Florida.

 12.   Thereafter, on or about May 6, 2010, KRAMER entered a notice of appearance as

       co-counsel on behalf of plaintiff and on August 9, 2010, KRAMER did cause an alias

       summons to be served upon VERNON MARQUIS, JR. at his residence in Broward

       County.

                                             2
Case 0:10-cv-62292-WJZ Document 1 Entered on FLSD Docket 11/24/2010 Page 3 of 4




 13.   The alleged debt, FEE and KRAMER sought to collect was a "consumer" "debt" as

       defined by the FDCPA, 15 U.S.C. § 1692a(5).

 14.   MARQUIS does not reside in St. Lucie County and the contract sued upon by the

       defendants was not signed in St. Lucie County.

                                         COUNT I
                            (Failure To file in proper venue)

       Plaintiff realleges and incorporates here paragraphs 1 through 14.

 15.    FEE and KRAMER violated 15 U.S.C. § 1692i(a)(2) by filing a lawsuit in St Lucie

       County where the defendant did not reside and where the contract was not signed.

 16.    As a result of the violation of the FDCPA, the Defendants are liable to the Plaintiff

       for actual damages, statutory damages, costs and attorney’s fees.

 Prayer For Relief

       WHEREFORE, Plaintiff prays that this Court enter judgment against Defendant for:

       A. Actual damages, according to 15 U.S.C. § 1692k(a)(1);

       B. Statutory damages, according to 15 U.S.C. § 1692k(a)(2)(A);

       C. Costs, according to 15 U.S.C. § 1692k(a)(3) and Fed.R.Civ.P. 54(d);

       D. Reasonable attorney’s fees, according to 15 U.S.C. § 1692k(a)(3).

 JURY TRIAL DEMAND.

       a. Plaintiff demands trial by jury.

                                                  Dated:11.24.2010

                                                  Respectfully submitted,
                                                  /s/ Rebecca J Covey


                                              3
Case 0:10-cv-62292-WJZ Document 1 Entered on FLSD Docket 11/24/2010 Page 4 of 4




                                           Fla. Bar #:471641
                                           REBECCA J. COVEY, LLC.
                                           1318 S.E. First Ave.
                                           Fort Lauderdale, Fl. 33316
                                           954.763.4300; 954.763.4666 [fax]
                                           Rjlaw1@bellsouth.net
                                           Attorney for Plaintiff VERNON
                                           MARQUIS JR.




                                       4
